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                                     #1106


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

NICOLE M. BOWLINE, et al.,

      Defendants.                                              No. 04-CR-30029-DRH


                                      ORDER


HERNDON, Chief Judge:



             Now before the court is a Motion to Continue Sentencing Hearing filed

by defendant Nicole Bowline (Doc. 326). Defendant seeks to continue her sentencing

until after the scheduled plea/trial date of codefendant Adams, so that her assistance

in the prosecution of codefendant Adams can be accurately assessed for sentencing

purposes. Therefore, the Court GRANTS defendant Bowline’s Motion (Doc. 326) and

CONTINUES the sentencing hearing scheduled for January 18, 2008 to March 28,

2008 at 2:30 p.m.

             IT IS SO ORDERED.

             Signed this 10th day of January, 2008.


                                         /s/   DavidRHerndon
                                       Chief Judge
                                       United States District Court
